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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTI~IERN DISTRICT OF TEXAS
HOUSTON DIVISION

ALLSTATE INSURANCE COl\/[PANY,
ALLSTATE IN])EMNITY COMPANY,
ALLSTATE PROPERTY & CASUALTY
INSURANCE COMPANY, ALLSTATE
COUNTY MUTUAL INSURANCE
COMPANY, and ALLSTATE FIRE &
CASUALTY INSURANCE COMPANY

PLAINTIFFS

v. Civil Action No. H:12-0432
WILLIAM F. DONOVAN, M.D.,

LORENZO FAROLAN, M.D.,

OMAR VII)AL, M.D., DAVID DENT, D.O.
NORTHSHORE ORTHOPEDICS ASSOC.,
JOHN TALAMAS', QUALITY DRILL
MEDIA, LLC, MEMORIAL MRI &
DIAGNOSTIC, L.L.C., MEMORIAL MRI

& DIAGNOSTIC CENTER, L.P. (f/ola
MEMORIAL MRI & DIAGNOSTIC
CENTER, L.L.L.P.), MICHAEL HILLIARD,
SHAI'LESH PATEL, and KIM TRAN,

UMQOI¢MMWWWW@WWWMMWWMWWM¢MWWWM

DEFENDANTS.

ORIGINAL ANSWER AND COUNTERCLAIM OF DEFEN])ANTS MEMORIAL MRI,
MICHAEL HILLIARD, SHAILESH PATEL, AND KIM TRAN TO
PLAINTIFFS’ FIRST AME_NDED COMPLAINT

MEMORIAL MRI & DIAGNOSTIC, L.L.C., MEMORIAL MRI & DIAGNOSTIC
CENTER, L.P. (f/k/a L/[EMORIAL MRI & DIAGNOSTIC CENTER, L.L.L.P.),
MICHAEL HILLIARD, SHAILESH PATEL, AND KIM TRAN (“MMRI Defendants”) file

this Original AnSWer and Counterclaim to Plaintiffs’ First Amended Complaint (the “Amended

Complaint”).

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I.
ANSWER

l. MMRI Defendants deny all allegations in Paragraph 1 of the Amended Complaint.

2. MMRI Defendants deny all allegations in Paragraph 2 of the Amended Cornplaint.

3. MMRI Defendants deny all allegations in Paragraph 3 of the Amended Cornplaint.

II.

,IURISDICTION AND VENUE

4. MMRI Defendants do not challenge the jurisdiction contained in Paragraph 4 of the

Amended Coniplaint.

5. MMRI Defendants do not challenge the venue contained in Paragraph 5 of the Amended

Cornplaint.

III.
PARTIES

6. l\/[MRI Defendants are without Sufficient knowledge to either admit or deny the allegations in

Paragraph 6 of the Amended Cornplaint.

7. MMRI Defendants are without sufficient knowledge
allegations in Paragraph 7 of the Amended Complaint.

S. MMRI Defendants are Without sufficient knowledge
allegations in Paragraph 8 _of the Amended Colnplaint.

9. MMRI Defendants are Without sufficient knowledge
allegations in Paragraph 9 of the Amended Cornplaint.

lO. l\/[MRI Defendants are Without sufficient knowledge
allegations in Paragraph 10 of the Amended Cornplaint.

11. MMRI Defendants are without sufficient knowledge

allegations in Paragraph ll of the Amended Cornplaint.

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MMRI Defendants are without sufficient knowledge to either admit or deny the

allegations in Paragraph 12 of the Amended Complaint.

13.

MMRI Defendants are without sufficient knowledge to either admit or deny the

allegations in Paragraph 13 of the Amended Cornplaint.

14.

MMRI Defendants are without sufficient knowledge to either admit or deny the

allegations in Paragraph 14 of the Amended Cornplaint.

15.

MMRI Defendants are without sufficient knowledge to either admit or deny the

allegations in Paragraph 15 of the Amended Complaint.

16.

MMRI Defendants are without sufficient knowledge to either admit or deny the

allegations in Paragraph 16 of the Amended Cornplaint.

17.

Ml\/IRI Defendants are without sufficient knowledge to either admit or deny the

allegations in Paragraph 17 of the Amended Complaint.

18.

19.

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22.

A.

23.

MMRI Defendants admit the allegations in Paragraph 18 of the Amended Cornplaint.
MMRI Defendants admit the allegations in Paragraph 19 of the Amended Complaint.
MMRI Defendants admit the allegations in Paragraph 20 of the Amended Cornplaint.
MMRI Defendants admit the allegations in Paragraph 21 of the Amended Cornplaint.
MMRI Defendants admit the allegations in Paragraph 22 of the Amended Cornplaint.
IV.
STATEMENT OF FACTS COMl\/ION
TO ALL CAUSES OF ACTION

Northshore Orthopedics

MMRI Defendants are without sufficient knowledge to admit or deny the allegations in

Paragraph 23 of the Amended Cornplaint.

Northshore Operations Prior to 2005

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24. MMRI Defendants are without sufficient knowledge to admit or deny the allegations in
Paragraph 24 of the Amended Cornplaint.
25. MMRI Defendants are without sufficient knowledge to admit or deny the allegations in
Paragraph 25 of the Amended Cornplaint.
26. MMRI Defendants admit that, beginning in 2004, Dr. William Donovan (“Donovan”)
and Northshore Orthopedics Assoc. (“Noithshore”) referred some patients who were involved in
automobile collisions and work accidents, as well as other injured patients, to Memorial MRI &
Diagnostic, L.L.C., Memorial MRI & Diagnostic Center, L.P. (“Memorial MRI”) for diagnostic
testing and some medical procedures MMRI Defendants deny the allegation in paragraph 26 that
Donovan and Northshore began referring patients to Memorial MRI for diagnostic testing and
procedures by the early 2000’s.

Northshore Operations post 2005
27. MMRI Defendants are without sufficient knowledge to admit or deny the allegations in
Paragraph 27 of the Amended Cornplaint.
28. MMRI Defendants are without sufficient knowledge to admit or deny the allegations in
Paragraph 28 of the Amended Cornplaint.

Northshore’s Operations after the Period at Issue
29. MMRI Defendants are without sufficient knowledge to admit or deny the allegations in
Paragraph 29 of the Amended Cornplaint.
30. MMRI Defendants are without sufficient knowledge to admit or deny the allegations in
Paragraph 30 of the Amended Cornplaint.
B. Memorial MRI
31. MMRI Defendants admit the allegations in Paragraph 31 of the Amended Cornplaint.

32. MMRI Defendants admit the allegations in Paragraph 32 of the Amended Complaint.

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33. MMRI Defendants admit the allegations in Paragraph 33 of the Amended Cornplaint.

34. MMRI Defendants admit the allegations in Paragraph 34 of the Amended Cornplaint.

35. MMRI Defendants admit the allegations in the first sentence of Paragraph 35 of the
Amended Complaint. Ml\/lRI Defendants deny the remaining allegations in Paragraph 35 of the
Amended Cornplaint.

36. MMRI Defendants admit that Kim Tran became involved With Memorial MRI in 2004.
MMRI Defendants admit the allegations in the second, third, fourth and fifth sentences in
Paragraph 36 of the Amended Cornplaint. MMRI Defendants are Without sufficient knowledge
to admit or deny all other allegations in Paragraph 36 of the Amended Cornplaint.

37. MMRI Defendants admit the allegations in the first, second, third and fourth Sentences in
Paragraph 37 of the Amended Complaint. MMRI Defendants deny the allegations in the fifth,
sixth, seventb, eighth and ninth sentences in Paragraph 37 of the Amended Cornplaint. MMRI
Defendants admit that lohn Talamas (“Talamas”) or Quality Drive Media, Inc. is paid by
Memorial MRI. MMRI Defendants are without sufficient knowledge to admit or deny all other
allegations in Paragraph 37 of the Amended Cornplaint.

38. MMRI Defendants admit the allegations in the first, second, third, fourth, fifth, sixth,
seventh and eighth sentences in Paragraph 38 of the Amended Cornplaint. MMRI Defendants
deny that Northshore began referring automobile accident patients and other patients to
Memorial MRI in “the early 2000$" but admit that the Northshore began referring automobile
accident patients and other patients to Memorial MRI in the mid-2000’s.

39. MMRI Defendants admit the allegations in Paragraph 39 of the Amended Cornplaint.

40. MMRI Defendants admit the allegations in Paragraph 40 of the Amended Cornplaint.

41. MMRI Defendants admit the allegations in Paragraph 41 of the Amended Cornplaint.

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42. MMRI Defendants are without sufficient knowledge to admit or deny the allegations in
Paragraph 42 of the Amended Cornplaint.

43. MMRI Defendants admit the allegations in Paragraph 43 of the Amended Complaint,

44. MMRI Defendants are without sufficient knowledge to admit or'deny the allegations in
Paragraph 44 of the Amended Complaint.

45. MMRI Defendants admit the allegations in Paragraph 45 of the Amended Cornplaint.

46. MMRI Defendants admit the allegations in Paragraph 46 of the Amended Complaint,
except that the agreement with Dr. Dent and Memorial MRI was negotiated by Kim Tran, not
Lan Tran.

47. MMRI Defendants deny the allegations in Paragraph 47 of the Amended Cornplaint.

48. MMRI Defendants deny the allegations in Paragraph 48 of the Amended Cornplaint.

C. Quality Drill Media, LLC.

49. MMRI Defendants are without sufficient knowledge to admit or deny the allegations in
Paragraph 49 of the Amended Cornplaint.

50. MMRI Defendants are without sufficient knowledge to either admit or deny the
allegations in Paragraph 50 of the Amended Cornplaint.

51. MMRI Defendants are without sufficient knowledge to admit or deny the allegations in
Paragraph 51 of the Amended Cornplaint.

52. MMRI Defendants are without sufficient knowledge to admit or deny the allegations in
Paragraph 52 of the Amended Cornplaint.

53. MMRI Defendants are without sufficient knowledge to admit or deny the allegations in
Paragraph 53 of the Amended Cornplaint.

D. Stern, Miller & Higdon

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54. MMRI Defendants are Without sufficient knowledge to admit or deny the remaining
allegations in Paragraph 54 of the Amended Cornplaint.

55. MMRI Defendants are without sufficient knowledge to admit or deny the allegations in
Paragraph 55 of the Amended Complaint.

56. MMRI Defendants are without sufficient knowledge to either admit or deny the
allegations in Paragraph 56 of the Amended Cornplaint.

57. MMRI Defendants are without sufficient knowledge to either admit or deny the
allegations in Paragraph 57 of the Amended Cornplaint.

58. MMRI Defendants are without sufficient knowledge to either admit or deny the
allegations in Paragraph 58 of the Amended Complaint.

E. The Law Office Joseph Stang

59. MMRI Defendants are without sufficient knowledge to either admit or deny the
allegations in Paragraph 59 of the Amended Cornplaint.

60. MMRI Defendants are without sufficient knowledge to either admit or deny the
allegations in Paragraph 60 of the Amended Complaint.

61. MMRI Defendants are Without sufficient knowledge to either admit or deny the
allegations in Paragraph 61 of the Amended Cornplaint.

62. MMRI Defendants are without sufficient knowledge to either admit or deny the
allegations in the first sentence of Paragraph 62 of the Amended Cornplaint.

V.
General Conduct of Business Between Northshore Ol'thopedics and Memorial l\/[RI

63. MMRI Defendants deny the allegations in Paragraph 63 of the Amended Cornplaint.
64. MMRI Defendants are without sufficient knowledge to admit or deny the allegations in

Paragraph 64 of the Amended Cornplaint.

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65. MMRI Defendants deny the allegations in Paragraph 65 of the Amended Cornplaint.

66. MMRI Defendants deny the allegations in Paragraph 66 of the Amended Cornplaint.

67. MMRI Defendants deny the allegations in Paragraph 67 of the Amended Cornplaint.

68. MMRI Defendants are Without sufficient knowledge to admit or deny the allegations in
Paragraph 68 of the Amended Complaint.

VI.
CAUSES OF ACTION

COUNTS ONE, TWO and THREE
Violation of Title 18, United States Code, Sections 1962(c) and 1962(d)
(RICO Statute)
69. MMRI Defendants deny the allegations in Paragraph 69 of the Amended Cornplaint.
COUNT ONE -- THE ASSOCIATION-IN-FACT ENTERPRISE
(Against All Defendants for Violation of Title 18, United States Code, Section 1962 (c))
70. MMRI Defendants deny the allegations in Paragraph 70 of the Amended Cornplaint.
71. Ml\/[Rl Defendants deny the allegations in Paragraph 71 of the Amended Cornplaint.
COUNT TWO -- THE MEMORIAL MRI & DIAGNOSTIC CENTER ENTERPRISE
(Against Defendants Donovan, Farolan, Vidal, Dent, D.O., Northshore Orthopedics
Assoc., Talamas, Quality Drill Media, Memorial MRI & Diagnostic L.L.C., Hilliard,
Patel, and Tran for Violation of Title 18, United States Code, Section 1962 (c))
72. MMRI Defendants deny the allegations in Paragraph 72 of the Amended Cornplaint.
73. MMRI Defendants deny the allegations in Paragraph 73 of the Amended Cornplaint.
74. MMRI Defendants deny the allegations in Paragraph 74 of the Amended Cornplaint.
COUNT TI-IREE -- CONSPIRACY TO VIOLATE SECTION 1962(c)
(Against All Defendants in Regard to the Association-in-Fact Enterprise; Against

Defendants Donovan, Farolan, Vidal, Dent, D,O., Northshore Orthopedics Assoc,,
Talarnas, Quality Drill Media, Memorial MRI & Diagnostic L.L.C., Hilliard, Patel, and Tran

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in Regard to the Center Enterprise, for Violation of Title 18, United States Code, Section
1962(d))

75. MMRI Defendants deny the allegations in Paragraph 75 of the Amended Complaint.

76. MMRI Defendants deny the allegations in Paragraph 76 of the Amended Cornplaint.

PARTIES

A. Defendants and Specific l\/Iisconduct/Factual Basis of Liability

77 . MMRI Defendants deny the allegations in Paragraph 77 of the Amended Cornplaint.

78.` MMRI Defendants deny the allegations in Paragraph 78 of the Amended Cornplaint.

79. MMRI Defendants deny the allegations in Paragraph 79 of the Amended Cornplaint.

80. MMRI Defendants deny the allegations in Paragraph 80 of the Amended Cornplaint.
William F. Donovan, M.D.

81. MMRI Defendants deny the allegations in Paragraph 81 of the Amended Complaint, or

are without sufficient knowledge to either admit or deny the allegations in Paragraph 81 of the

Amended Complaint.

82. MMRI Defendants deny the allegations in Paragraph 82 of the Amended Complaint,, or

are without sufficient knowledge to either admit or deny the allegations in Paragraph 82 of the

Amended Cornplaint.

83. MMRI Defendants deny the allegations in Paragraph 83 of the Amended Complaint,, or

are without sufficient knowledge to either admit or deny the allegations in Paragraph 83 of the

Amended Complaint.

84. MMRI Defendants deny the allegations in Paragraph 84 of the Amended Complaint, or

are without Sufficient knowledge to either admit or deny the allegations in Paragraph 84 of the

Amended Cornplaint.

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85. MMRI Defendants deny the allegations in Paragraph 85 of the Amended Complaint, or
are without sufficient knowledge to either admit or deny the allegations in Paragraph 85 of the
Amended Cornplaint.
86. MMRI Defendants deny the allegations in Paragraph 86 of the Amended Complaint, or
are Without sufficient knowledge to either admit or deny the allegations in Paragraph 86 of the
Amended Cornplaint.
Northshore Orthopedics Assoc.
87. MMRI Defendants deny the allegations in Paragraph 87 of the Amended Complaint, or
are without sufficient knowledge to either admit or deny the allegations in Paragraph 87 of the
Amended Complaint,
88. MMRI Defendants deny the allegations in Paragraph 88 of the Amended Complaint, or
are without sufficient knowledge to either admit or deny the allegations in Paragraph 88 of the
Amended Cornplaint.
89. MMRI Defendants deny the allegations in Paragraph 89 of the Amended Complaint, or
are without sufficient knowledge to either admit or deny the allegations in Paragraph 89 of the
Amended Complaint,
90. MMRI Defendants deny the allegations in Paragraph 90 of the Amended Complaint, or
are without sufficient knowledge to either admit or deny the allegations in Paragraph 90 of the
Amended Cornplaint.
Lorenzo Farolan, M.D.
91. MMRI Defendants deny the allegations in Paragraph 91 of the Amended Complaint, or
are without sufficient knowledge to either admit or deny the allegations in Paragraph 91 of the

Amended Cornplaint.

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92. MMRI Defendants deny the allegations in Paragraph 92 of the Amended Complaint, or
are Without sufficient knowledge to either admit or deny the allegations in Paragraph 92 of the
Amended Cornplaint.
93. MMRI Defendants deny the allegations in Paragraph 93 of the Amended Complaint, or
are without sufficient knowledge to either admit or deny the allegations in Paragraph 93 of the
Amended Cornplaint.
94. MMRI Defendants deny the allegations in Paragraph 94 of the Amended Complaint, or
are without sufficient knowledge to either admit or deny the allegations in Paragraph 94 of the
Amended Complaint.
.Iohn Talamas
95. MMRI Defendants deny the allegations in Paragraph 95 of the Amended Complaint, or
are without sufficient knowledge to either admit or deny the allegations in Paragraph 95 of the
Amended Complaint,
96. MMRI Defendants deny the allegations in Paragraph 96 of the Amended Complaint, or
are without sufficient knowledge to either admit or deny the allegations in Paragraph 96 of the
Amended Cornplaint.
97. MMRI Defendants deny the allegations in Paragraph 97 of the Amended Complaint, or
are without sufficient knowledge to either admit or deny the allegations in Paragraph 97 of the
Amended Complaint,
98. MMRI Defendants deny the allegations in Paragraph 98 of the Amended Complaint, or
are without sufficient knowledge to either admit or deny the allegations in Paragraph 98 of the
Amended Cornplaint.

Quality Drin Media, L.L.C.

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99. MMRI Defendants deny the allegations in Paragraph 99 of the Amended Complaint, or
are without sufficient knowledge to either admit or deny the allegations in Paragraph 99 of the
Amended Complaint,

100. MMRI Defendants deny the allegations in Paragraph 100 of the Amended Complaint, or
are without sufficient knowledge to either admit or deny the allegations in Paragraph 100 of the
Amended Complaint

101. MMRI Defendants deny the allegations in Paragraph 101 of the Amended Complaint, or
are without sufficient knowledge to either admit or deny the allegations in Paragraph 101 of the
Amended Cornplaint.

Omar Vidal, M.D.

102. MMRI Defendants deny the allegations in Paragraph 102 of the Amended Complaint, or
are without sufficient knowledge to either admit or deny the remainder of the allegations in
Paragraph 102 of the Amended Cornplaint.

103. MMRI Defendants deny the allegations in Paragraph 103 of the Amended Complaint, or
are without sufficient knowledge to either admit or deny the allegations in Paragraph 103 of the
Amended Complaint

David Dent, D.O.

104. MMRI Defendants deny the allegations in Paragraph 104 of the Amended Complaint, or
are without sufficient knowledge to either admit or deny the allegations in Paragraph 104 of the
Amended Cornplaint.

105. MMRI Defendants deny the allegations in Paragraph 105 of the Amended Complaint, or
are without sufficient knowledge to either admit or deny the allegations in Paragraph 105 of the
Amended Complaint

Memorial MRI & Diagnostic L.L.C.

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106. MMRI Defendants admit the allegations in Paragraph 106 of the Amended Complaint.
107. MMRI Defendants deny the allegations in Paragraph 107 of the Amended Complaint,
108. MMRI Defendants deny the allegations in Paragraph 108 of the Amended Cornplaint.
109. MMRI Defendants admit the allegations in Paragraph 109 of the Amended Cornplaint.
110. MMRI Defendants deny the allegations in Paragraph 110 of the Amended Cornplaint.
111. MMRI Defendants deny the allegations in Paragraph 111 of the Amended Complaint,

Memorial MRI & Diagnostic Center, L.P. (fln/a Memorial MRI &
Diagnostic Center, L.L.L.P.)

112. MMRI Defendants deny the allegations in Paragraph 112 of the Amended Complaint,
113. MMRI Defendants deny the allegations in Paragraph 113 of the Amended Complaint,
114. MMRI Defendants admit the allegations in Paragraph 114 of the Amended Cornplaint.
115. MMRI Defendants deny the allegations in Paragraph 115 of the Amended Complaint
116. MMRI Defendants deny the allegations in Paragraph 116 of the Amended Cornplaint.
Michael Hilliard
117. MMRI Defendants deny the allegations in Paragraph 117 of the Amended Cornplaint.
118. MMRI Defendants admit the allegations in Paragraph 118 of the Amended Cornplaint.
119. MMRI Defendants deny the allegations in Paragraph 119 of the Amended Complaint,
120. MMRI Defendants admit the allegations in Paragraph 120 of the Amended Cornplaint.
121. MMRI Defendants deny the allegations in Paragraph 121 of the Amended Complaint,
122. MMRI Defendants deny the allegations in Paragraph 122 of the Amended Cornplaint.
Shailesh Patel
123. MMRI Defendants admit the allegations in the first sentence in Paragraph 123 of the
Amended Cornplaint. MMRI Defendants deny the allegations in the second and third sentences

in Paragraph 123 of the Amended Complaint.

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MMRI Defendants admit the allegations in Paragraph 124 of the Amended Cornplaint.

MMRI Defendants deny the allegations in Paragraph 125 of the Amended Cornplaint.

MMRI Defendants admit the allegations in Paragraph 126 of the Amended Complaint,

MMRI Defendants deny the allegations in Paragraph 127 of the Amended Complaint.

MMRI Defendants deny the allegations in Paragraph 128 of the Amended Complaint,
Kim Tran

MMRI Defendants admit the allegations in the first sentence in Paragraph 129 of the

Amended Cornplaint. MMRI Defendants deny the allegations in the second sentence in

Paragraph 129 of the Amended Cornplaint.

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136.

MMRI Defendants admit the allegations in Paragraph 130 of the Amended Cornplaint.
MMRI Defendants deny the allegations in Paragraph 131 of the Amended Cornplaint.
MMRI Defendants admit the allegations in Paragraph 132 of the Amended Cornplaint.
MMRI Defendants deny the allegations in Paragraph 133 of the Amended Cornplaint.
MMRI Defendants deny the allegations in Paragraph 134 of the Amended Cornplaint.
MMRI Defendants deny the allegations in Paragraph 135 of the Amended Cornplaint.
Non-Party Wrongdoers and Misconduct of Each

MMRI Defendants are without sufficient knowledge to either admit or deny the

allegations in Paragraph 136 of the Amended Cornplaint.

137.

MMRI Defendants are without sufficient knowledge to either admit or deny the

allegations in Paragraph 137 of the Amended Complaint,

138.

MMRI Defendants are without sufficient knowledge to either admit or deny the

allegations in Paragraph 138 of the Amended Cornplaint.

139.

MMRI Defendants are without sufficient knowledge to either admit or deny the

allegations in Paragraph 139 of the Amended Cornplaint.

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140. MMRI Defendants are without sufficient knowledge
allegations in Paragraph 140 of the Amended Cornplaint.
' 141. MMRI Defendants are without sufficient knowledge
allegations in Paragraph 141 of the Amended Cornplaint.

C. Plaintiffs and the Injury to Each

142. MMRI Defendants are without sufficient knowledge
allegations in Paragraph 142 of the Amended Cornplaint.

143. MMRI Defendants are without sufficient knowledge
allegations in Paragraph 143 of the Amended Cornplaint.
RACKETEERING AC'I‘IVITIES l

A. Statutes Violated and Particular Facts

144. MMRI Defendants are Without sufficient knowledge
allegations m Paragraph 144 of the Amended Complaint.

145. MMRI Defendants are Without sufficient knowledge
allegations in Paragraph 145 of the Amended Complaint,

146. MMRI Defendants are without sufficient knowledge
allegations in Paragraph 146 of the Amended Complaint

147. MMRI Defendants are without sufficient knowledge
allegations in Paragraph 147 of the Amended Complaint.
' 148. MMRI Defendants are without sufficient knowledge
allegations in Paragraph 148 of the Amended Cornplaint.

149. MMRI Defendants are without sufficient knowledge

allegations in Paragraph 149 of the Amended Complaint

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150. MMRI Defendants are Without sufficient knowledge
allegations in Paragraph 150 of the Amended Cornplaint.
151. MMRI Defendants are without sufficient knowledge
allegations in Paragraph 151 of the Amended Complaint.
152. MMRI Defendants are without sufficient knowledge
allegations in Paragraph 152 of the Amended bomplamt.
153. MMRI Defendants are without sufficient knowledge
allegations in Paragraph 153 of the Amended Cornplaint.
154. MMRI Defendants are without sufficient knowledge
allegations in Paragraph 154 of the Amended Complaint,
155. MMRI Defendants are without sufficient knowledge
allegations in Paragraph 155 of the Amended Cornplaint.
156. MMRI Defendants are without sufficient knowledge
allegations in Paragraph 156 of the Amended Cornplaint.
157. MMRI Defendants are Without sufficient knowledge
allegations in Paragraph 157 of the Amended Complaint,
158. MMRI Defendants are without sufficient knowledge
allegations in Paragraph 158 of the Amended Cornplaint.
159. MMRI Defendants are without sufficient knowledge
allegations in Paragraph 159 of the Amended Cornplaint.
160. MMRI Defendants are without sufficient knowledge
allegations in Paragraph 160 of the Amended-Complaint
161. MMRI Defendants are without sufficient knowledge

allegations in Paragraph 161 of the Amended Cornplaint.

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162. MMRI Defendants are without sufficient knowledge to either admit or deny the

allegations in Paragraph 162 of the Amended Cornplaint.

163. MMRI Defendants are without sufficient knowledge to either admit or deny the

allegations in Paragraph 163 of the Amended Cornplaint.

164. MMRI Defendants are without sufficient knowledge to either admit or deny the

allegations in Paragraph 164 of the Amended Cornplaint.

165. MMRI Defendants are without sufficient knowledge to either admit or deny the

allegations in Paragraph 165 of the Amended Cornplaint.

166. MMRI Defendants are without sufficient knowledge to either admit or deny the

allegations in Paragraph 166 of the Amended Cornplaint.

167. MMRI Defendants are without sufficient knowledge to either admit or deny the

allegations in Paragraph 167 of the Amended Cornplaint.

168. MMRI Defendants are without sufficient knowledge to either admit or deny the

allegations in Paragraph 168 of the Amended Complaint,

B. Dates, Participants, and Factual Description of the Predicate Acts

169. MMRI Defendants deny the allegations in Paragraph 169 of the Amended Cornplaint.
(1) Patient R.S.

170. Other than information in its records, MMRI Defendants are without sufficient

knowledge to either admit or deny the allegations in Paragraph 170 of the Amended Complaint,

171. Other than information in its records, MMRI Defendants are without sufficient

knowledge to either admit or deny the allegations in Paragraph 171 of the Amended Complaint,

172. Other than information in its records, MMRI Defendants are without sufficient

knowledge to either admit or deny the allegations in Paragraph 172 of the Amended Complaint,

(2) Patient J.A.

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173. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 173 of the Amended Complaint,
174. Other than information in its records, MMRI Defendants are Without sufficient
knowledge to either admit or deny the allegations in Paragraph 174 of the Amended Cornplaint.
175. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 175 of the Amended Cornplaint.
(3) Patient M.M.
176. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 176 of the Amended Cornplaint.
177. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 177 of the Amended Complaint,
178. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 178 of the Amended Cornplaint.
(4) Patient K.D.
179. Other than information in its records, MMRI Defendants are Without sufficient
knowledge to either admit or deny the allegations in Paragraph 179 of the Amended Cornplaint.
180. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 180 of the Amended Complaint
181. Other than information in its records, MMRI Defendants are Without sufficient
knowledge to either admit or deny the allegations in Paragraph 181 of the Amended Cornplaint.
(5) Patient E.R.
.182. Other than information in its records, MMRI Defendants are without sufficient

knowledge to either admit or deny the allegations in Paragraph 182 of the Amended Cornplaint.

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183. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 183 of the Amended Cornplaint.
184. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit Or deny the allegations in Paragraph 184 of the Amended Cornplaint.
(6) Patient S.M.
185. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 185 of the Amended Complaint,
186. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 186 of the Amended Complaint,
187. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 187 of the Amended Complaint.
(7) Patient D.S.
188. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 188 of the Amended Cornplaint.
189. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 189 of the Amended Complaint,
190. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 190 of the Amended Cornplaint.
(8) Patient ,].H.
191. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 191 of the Amended Cornplaint.
192. Other than information in its records, MMRI Defendants are without sufficient

knowledge to either admit or deny the allegations in Paragraph 192 of the Amended Cornplaint.

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193. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 193 of the Amended Complaint,
(9) Patient N.A.
194. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 194 of the Amended Cornplaint.
195. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 195 of the Amended Complaint
196. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 196 of the Amended Complaint,
(10) Patient T.R.
197. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 197 of the Amended Complaint,
198. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 198 of the Amended Cornplaint.
199. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 199 of the Amended Cornplaint.
(11) Patient F.S.
200. . Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 200 of the Amended Complaint,
201. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 201 of the Amended Complaint,
202. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 202 of the Amended Cornplaint.

(12) Patient A..I.

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203. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 203 of the Amended Cornplaint.
204. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 204 of the Amended Cornplaint.
205. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 205 of the Amended Complaint,
(13) Patient A.A.
206. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 206 of the Amended Cornplaint.
207. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 207 of the Amended Complaint.
208. Other than information in its records, l\/[l\/[Rl Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 208 of the Amended Cornplaint.
(14) Patient E.R.
209. Other than information in its records, Ml\/[Rl Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 209 of the Amended Cornplaint.
210. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 210 of the Amended Cornplaint.
211. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 211 of the Amended Cornplaint.
(15) Patient P.N.
212. Other than information in its records, MMRI Defendants are Without sufficient

knowledge to either admit or deny the allegations in Paragraph 212 of the Amended Cornplaint.

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213. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 213 of the Amended Complaint,
214. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 2l4 of the Amended Complaint.
(16) Patient K.N.
215. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 215 of the Amended Cornplaint.
216. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 216 of the Amended Cornplaint.
217 . Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 217 of the Amended Complaint.
(17) Patient A.C
218. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 219 of the Amended Complaint.
219. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 220 of the Amended Complaint,
220. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 221 of the Amended Cornplaint.
(18) Patient M.L.
221, Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 221 of the Amended Complaint.
222. Other than information in its records, MMRI Defendants are Without sufficient `

knowledge to either admit or deny the allegations in Paragraph 222 of the Amended Complaint,

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223. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 223 of the Amended Cornplaint.
(19) Patient M.H.
224. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 224 of the Amended Cornplaint.
225. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 225 of the Amended Cornplaint.
226. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 226 of the Amended Cornplaint.
(20) Patient W.S.
227. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 227 of the Amended Complaint.
228. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 228 of the Amended Cornplaint.
229. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 229 of the Amended Complaint,
(21) Patient J.N.
230, Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 230 of the Amended Complaint.
231. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 231 of the Amended Complaint.
232. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 232 of the Amended Complaint

(22.) Patient L.T.

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233. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 233 of the Amended Cornplaint.
234. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 234 of the Amended Cornplaint.
(23) Patient M. G.
235. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 235 of the Amended Complaint,
236. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 236 of the Amended Cornplaint.
237. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 237 of the Amended Cornplaint.
(24) Patient S.G.
238. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 238 of the Amended Complaint,
239. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 239 of the Amended Cornplaint.
240. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 240 of the Amended Complaint,
(25) Patient E.B.
241. Other than information in its records, MMRI Defendants are Without sufficient
knowledge to either admit or deny the allegations in Paragraph 241 of the Amended Complaint.
242. Other than information in its records, MMRI Defendants are without sufficient

knowledge to either admit or deny the allegations in Paragraph 242 of the Amended Complaint,

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243. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 243 of the Amended Complaint.
(26) Patient S.S. -
244. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 244 of the Amended Cornplaint.
245. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 245 of the Amended Cornplaint.
246. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 246 of the Amended Cornplaint.
(27) Patient C.L.
247. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 247 of the Amended Cornplaint.
248. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 248 of the Amended Cornplaint.
249. Other than information in its records, Ml\/IRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 249 of the Amended Cornplaint.
(28) Patient M.S.
250. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 250 of the Amended Cornplaint.
251. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 251 of the Amended Cornplaint.
252. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 252 of the Amended Complaint,

(29) Patient B.B.

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253. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 253 of the Amended Cornplaint.
254. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 254 of the Amended Cornplaint.
255. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 255 of the Amended Cornplaint.
(30) Patient S.J.
256. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 256 of the Amended Cornplaint.
257. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 257 of the Amended Cornplaint.
258. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 258 of the Amended Cornplaint.
(31) Patient G. R.
259. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 259 of the Amended Complaint.
260. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 260 of the Amended Complaint,
261. Other than information in its records, MMRI Defendants are without sufficient
knowledge to either admit or deny the allegations in Paragraph 261 of the Amended Complaint.
B. Circumstances of the Predicate Acts of Mail Fraud
262. MMRI Defendants deny the allegations in Paragraph 262 of the Amended Cornplaint.
263. MMRI Defendants deny the allegations in Paragraph 263 of the Amended Complaint.

264. MMRI Defendants deny the allegations in Paragraph 264 of the Amended Complaint.

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C. Criminal Convictions Related to the Predicate Acts

265. Ml\/[RI Defendants deny the allegations in Paragraph 265 of the Amended Cornplaint.
D. Civil .Iudgments Related to the Predicate Acts

266. MMRI Defendants deny the allegations in Paragraph 266 of the Amended Cornplaint.
E. The Predicate Acts form a Pattern of Racketeering Activity

267. MMRI Defendants deny the allegations in Paragraph 267 of the Amended Cornplaint.
F. The Predicate Acts Relate to Each Other as Part of a Common Plan

268. MMRI Defendants deny the allegations in Paragraph 268 of the Amended Cornplaint.
269. MMRI Defendants deny the allegations in Paragraph 269 of the Amended Cornplaint.
ENTERPRISE DESCRIPTION

A. Names of the Individuals, Partnerships, Corporations, Associations, or
Other Entities that Make Up the Enterprise

The Association-in-Fact Enterprise;

270. MMRI Defendants deny the allegations in Paragraph 270 of the Amended Cornplaint.

The Center Enterprise
271. MMRI Defendants deny the allegations in Paragraph 271 of the Amended Cornplaint.
B. Organization, Purpose, Function, and Course of Conduct of the Enterprise

T he Association-in-F act Enterprise
272. MMRI Defendants deny the allegations in Paragraph 272 of the Amended Cornplaint.
273. MMRI Defendants deny the allegations in Paragraph 273 of the Amended Complaint.
274. MMRI Defendants deny the allegations in Paragraph 274 of the Amended Cornplaint.
275. MMRI Defendants deny the allegations in Paragraph 275 of the Amended Complaint,
276. MMRI Defendants deny the allegations in Paragraph 276 of the Amended Cornplaint.

277. MMRI Defendants deny the allegations in Paragraph 277 of the Amended Cornplaint.

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278. MMRI Defendants deny the allegations in Paragraph 278 of the Amended Complaint,
279. MMRI Defendants deny the allegations in Paragraph 279 of the Amended Complaint,
280. MMRI Defendants deny the allegations in Paragraph 280 of the Amended Cornplaint.
281. MMRI Defendants deny the allegations in Paragraph 281 of the Amended Cornplaint.
282. MMRI Defendants deny the allegations in Paragraph 282 of the Amended Complaint,
The Center Enterprise;
283. MMRI Defendants deny the allegations in Paragraph 283 of the Amended Cornplaint.
284. MMRI Defendants deny the allegations in Paragraph 284 of the Amended Cornplaint.
285. MMRI Defendants deny the allegations in Paragraph 285 of the Amended Complaint,
286. MMRI Defendants deny the allegations in Paragraph 286 of the Amended Complaint,
287. MMRI Defendants deny the allegations in Paragraph 287 of the Amended Cornplaint.
288. MMRI Defendants deny the allegations in Paragraph 288 of the Amended Cornplaint.
289. MMRI Defendants deny the allegations in Paragraph 289 of the Amended Cornplaint.

C. Whether Defendants are Employees, Officers, or Directors of the Enterprise or its
Components

T he Association-in-Fact Enterprise;
290. MMRI Defendants deny the allegations in Paragraph 290 of the Amended Cornplaint.
291. MMRI Defendants deny the allegations in Paragraph 291 of the Amended Cornplaint.
The Center Enterprise;
292. MMRI Defendants deny the allegations in Paragraph 292 of the Amended Complaint
D. The Defendants are Associated With the Enterprise
The Association in Fact Enterprise
293. MMRI Defendants deny the allegations in Paragraph 293 of the Amended Cornplaint.

The Center Enterprise

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294. MMRI Defendants deny the allegations in Paragraph 294 of the Amended Cornplaint.

E. Whether Defendants are Individuals or Entities Separate from the Enterprise,
are the Enterprise, or are Members of the Enterprise

The Association-in Fact-Enterprise
295. MMRI Defendants deny the allegations in Paragraph 295 of the Amended Cornplaint.
296. MMRI Defendants deny the allegations in Paragraph 296 of the Amended Cornplaint.

The Center Enterprise (Memorial MRI Diagnostic Center, L.P. (#n/a
Memorial MRI Diagnostic Center, L.L.L.P.)).

297. MMRI Defendants deny the allegations in Paragraph 297 of the Amended Complaint.
298. MMRI Defendants deny the allegations in Paragraph 298 of the Amended Cornplaint.

F. If any Defendants are the Enterprise or its Members, Whether the Defendants
are Perpetrators, Passive Instruments, or Victims of the Racketeering Activity.

The Association-in-Fact Enterprise
299. MMRI Defendants deny the allegations in Paragraph 299 of the Amended Complaint
The Center Enterprise
300. MMRI Defendants deny the allegations in Paragraph 300 of the Amended Complaint,
ENTERPRISE RACKETEERING NEXUS

A. Whether the Pattern of Racketeering Activity and the Enterprise are Separate
or have Merged into one Entity.

301. MMRI Defendants deny the allegations in Paragraph 301 of the Amended Cornplaint.
302. MMRI Defendants deny the allegations in Paragraph 302 of the Amended Complaint,
303. MMRI Defendants deny the allegations in Paragraph 303 of the Amended Complaint.
304. MMRI Defendants deny the allegations in Paragraph 304 of the Amended Complaint,
305. MMRI Defendants deny the allegations in Paragraph 305 of the Amended Cornplaint.

B. The Relationship between the Racketeering Activity and the Enterprise; how the
Racketeering Activity Differs from the Regular Business of the Enterprise,

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306. MMRI Defendants deny the allegations in Paragraph 306 of the Amended Complaint.

307. MMRI Defendants deny the allegations in Paragraph 307 of the Amended Complaint,

308. MMRI Defendants deny the allegations in Paragraph 308 of the Amended Cornplaint.

C. Benefits the Enterprise receives from the Racketeering Activity.

309. MMRI Defendants deny the allegations in Paragraph 309 of the Amended Complaint,

310. MMRI Defendants deny the allegations in Paragraph 310 of the Amended Cornplaint.

SECTION 1962 SUBSECTIONS

A. No Alleged Violation of 18 U.S.C. §1962(a)

311. MMRI Defendants deny the allegations in Paragraph 311 of the Amended Complaint,

B. No Alleged Violation of 18 U.S.C. §1962(b)

3 12. MMRI Defendants deny the allegations in Paragraph 312 of the Amended Complaint.

C. Alleged Violation of 18 U.S.C. §1962(c); Who is Employed or Associated
with the Enterprise and Whether the same Entity is Both the Liable Person and
Enterprise Pursuant to §1962(c)

313. MMRI Defendants deny the allegations in Paragraph 313 of the Amended Complaint

314. MMRI Defendants deny the allegations in Paragraph 314 of the Amended Cornplaint.

315. MMRI Defendants deny the allegations in Paragraph 315 of the Amended Complaint,

D. Alleged Violation of § 1962(d); Description of Conspiracy

316. MMRI Defendants deny the allegations in Paragraph 316 of the Amended Complaint,

317. MMRI Defendants deny the allegations in Paragraph 317 of the Amended Complaint

318. MMRI Defendants deny the allegations in Paragraph 318 of the Amended Complaint,

EFFECT ON INTERSTATE COMMERCE

319. MMRI Defendants deny the allegations in Paragraph 319 of the Amended Complaint,

320. MMRI Defendants deny the allegations in Paragraph 320 of the Amended Cornplaint.

321. MMRI Defendants deny the allegations in Paragraph 321 of the Amended Cornplaint.

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DAMAGES
A. Injuries to Business and Property
322. MMRI Defendants deny the allegations in Paragraph 322 of the Amended Cornplaint.
323. MMRI Defendants deny the allegations in Paragraph 323 of the Amended Cornplaint.
B. Causal Relationship Between the Injury and the Violations of Section 1962
324. MMRI Defendants deny the allegations in Paragraph 324 of the Amended Cornplaint.
C. Damages Sustained Due to the Violation of Section 1962
325. MMRI Defendants deny the allegations in Paragraph 325 of the Amended Cornplaint.
326. MMRI Defendants deny the allegations in Paragraph 326 of the Amended Cornplaint.
STATE LAW CLAIMS
327. MMRI Defendants deny the allegations in Paragraph 327 of the Amended Complaint,
VII.
COUNT FOUR
(Against All Defendants for Common Law Fraud)
328. MMRI Defendants deny the allegations in Paragraph 328 of the Amended Cornplaint.
329. MMRI Defendants deny the allegations in Paragraph 329 of the Amended Cornplaint.
330. MMRI Defendants deny the allegations in Paragraph 330 of the Amended Cornplaint.
331. MMRI Defendants deny the allegations in Paragraph 331 of the Amended Cornplaint.
332. MMRI Defendants deny the allegations in Paragraph 332 of the Amended Cornplaint.
333. MMRI Defendants deny the allegations in Paragraph 333 of the Amended Cornplaint.
334. MMRI Defendants deny the allegations in Paragraph 334 of the Amended Cornplaint.
335. MMRI Defendants deny the allegations in Paragraph 335 of the Amended Complaint
VIII.
COUNT FIVE
(Against All Defendants for Common Law Conspiracy)
336. MMRI Defendants deny the allegations in Paragraph 336 of the Amended Cornplaint.

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337. MMRI Defendants deny the allegations in Paragraph 337 of the Amended Cornplaint.
338. MMRI Defendants deny the allegations in Paragraph 338 of the Amended Cornplaint.
339. MMRI Defendants deny the allegations in Paragraph 339 of the Amended Cornplaint.
340. MMRI Defendants deny the allegations in Paragraph 340 of the Amended Complaint,

341. MMRI Defendants deny the allegations in Paragraph 341 of the Amended Cornplaint.

X.
QI.F...N_LS.B
(Against All Defendants for Unjust Enrichment)

342. MMRI Defendants deny the allegations in Paragraph 342 of the Amended Cornplaint.
343. MMRI Defendants deny the allegations in Paragraph 343 of the Amended Complaint,
344. MMRI Defendants deny the allegations in Paragraph 344 of the Amended Cornplaint.
345. MMRI Defendants deny the allegations in Paragraph 345 of the Amended Complaint,
346. MMRI Defendants deny the allegations in Paragraph 346 of the Amended Complaint.
347. MMRI Defendants deny the allegations in Paragraph 347 of the Amended Cornplaint.

IX.
DAMAGES

348. MMRI Defendants deny the allegations in Paragraph 348 of the Amended Complaint.
349. MMRI Defendants deny the allegations in Paragraph 349 of the Amended Cornplaint.
350. MMRI Defendants deny the allegations in Paragraph 350 of the Amended Cornplaint.
351. MMRI Defendants deny the allegations in Paragraph 351 of the Amended Complaint.

352. MMRI Defendants deny the allegations in Paragraph 352 of the Amended Complaint

X 0
URY DEMAND

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353. Trial by jury is requested on all issues triable by jury.

XI.
AFFIRMATIVE DEFENSES

354. Limitations: Plaintiffs’ claims are barred, in whole or in part, by applicable statutes of
limitations

355. Laches: Plaintiffs’ claims are barred, in whole or in part, by the doctrine of laches
because Plaintiffs unreasonably delayed and failed to exercise diligence in asserting its alleged
rights and, as a result of the delay, the MMRI Defendants have made a good faith change of
position to their detriment

356. Waiver: Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs possessed
actual and/or constructive knowledge of the purported facts upon Which Plaintiffs now base their
claims, and Plaintiffs voluntarily, knowingly, and intentionally abandoned and/or relinquished
any and all claims that they now seek to advance through this litigation

357. Ratification: Plaintiffs’ claims are barred, in Whole or in part, because Plaintiffs
possessed actual and/or constructive knowledge of the purported facts upon Which Plaintiffs now
base their claims, and Plaintiffs ratified the propriety of the settlements and the underlying
claims of the patients at issue, including the underlying medical expenses and recommended
future medical expenses.

358. Payment and Release: Plaintiffs’ claims are barred, in whole or in part, because Plaintiff
voluntarily tendered payment in full satisfaction and released all claims forming the bases of its
claims asserted in this action.

359. Plaintiffs’ Own Fault: Plaintiffs’ claims are barred, in whole or in part, because

Plaintiffs’ own acts and/or omissions caused or contributed to Plaintiffs’ injury.

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360. lndispensible Third Parties: Plaintiffs’ claims are barred, in whole or in part, because
Plaintiffs have failed to join indispensible and necessary parties.

361. Failure to Mitigate: Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs
failed to take steps necessary to mitigate its damages, if any, that it now seeks to recover through
this litigation.

362. Collateral Estoppel: Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs
are collaterally estopped from asserting that any acts, representations, and/or omissions of the
MMRI Defendants formed the basis of any claim based on fraud or any other form of
wrongdoing

363. Res Judicata and Claim and Issue Preclusion: Plaintiffs’ claims are barred, in whole or in
part, based on the doctrines of res judicata and claim and issue preclusion.

364. Equitable Estoppel: Plaintiffs’ claims are barred, in whole or in part, based on principles
of equitable estoppel.

365. Unclean Hands. Plaintiffs’ claims are barred, in whole or in part, because Plaintiff has
engaged in wrongful conduct and activities, and it would be inequitable and unjust to allow
Plaintiffs to take anything from the MMRI Defendants based on any of Plaintiffs’ claims asserted
in their Amended Complaint,

366. Medical Necessity: Plaintiffs’ claims are barred, in whole or in part, because any acts
and/or representations of the MMRI Defendants on which Plaintiffs base their claims were
grounded on medical necessity.

367. Lack of Privity: Plaintiffs’ claims are barred, in whole or in part, by Plaintiffs lack of
privity with the MMRI Defendants.

368. Accord and Satisfaction: Plaintiffs claims are barred, in whole or in part, by the doctrines

of accord and satisfaction

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369. Receipt of Benefit: Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs
received a substantial benefit from its settlement of the underlying claims on which Plaintiffs
base their claims against the MMRI Defendants

370. Superseding Intervening Acts: Plaintiffs’ claims are barred, in whole or in part, because
of superseding intervening acts.

371. Economic Loss Doctrine: Plaintiffs’ claims are barred, in whole or in part, under the
economic loss doctrine

372. Lack of Standing: Plaintiffs’ claims are barred, in Whole or in part, because if any claims
exist, such claims belong to third parties and not to Plaintiffs.

373. Good Faith: Plaintiffs’ claims are barred, in whole or in part, because the actions and
representations at issue in the Amended Complaint were undertaken honestly, in good faith, and
in a reasonable and medically appropriate manner.

374. Substantial Compliance: Plaintiffs’ claims are barred, in whole or in part, because the
MMRI Defendants substantially complied with all applicable healthcare regulations and laws.
375. Windfall: Plaintiffs’ unjust enrichment claim is barred because allowing recovery on
such claim would result in a windfall for Plaintiffs.

376. Absence of Actual or lustifiable Reliance: Plaintiffs’ claims are barred because of
Plaintiffs’ lack of actual or justifiable reliance.

377. No Duty to Disclose: Plaintiffs’ claims based on failure to disclose are barred because no
special or contractual relationship existed between Plaintiffs and the defendants that gave rise to
any duty or obligation to disclose.

378. No Common Purpose for Racketeering: Plaintiffs’ RICO claims are barred, in whole or

in part, because the defendants shared no common purpose for racketeering activity.

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379. No predicate Acts: Plaintiffs’ RICO claims are barred, in whole or in part, because the
defendants did not commit any predicate acts of mail fraud.

380. No Common Scheme, Plan, or Motive: Plaintiffs’ RICO claims are barred, in whole or in
part, because the defendants did not engage in racketeering acts connected by a common scheme,
plan, or motive.

381. No Ag;reement to Participate: Plaintiffs’ RICO claims are barred, in whole or in part,
because defendants did not agree to participate, directly or indirectly, in the affairs of the alleged
enterprises through a pattern of racketeering activity.

382. Ordinary and Customary Business: Plaintiffs’ RICO claims are barred, in whole or in
part, because the conduct of ordinary and customary business does not constitute a pattern of
racketeering activity.

383. Association does not Equal Enterprise; Plaintiffs’ RICO claims are barred, in whole or in
part, because defendants’ purported association with other defendants does not rise to the level of
an enterprise.

384. Association does not Equal Conspiracy: Plaintiffs’ RICO conspiracy claim is barred, in
whole or in part, because defendants’ purported association with other defendants does not rise

to the level of conspiracy.

XII.
COUNTERCLAIMS

A. Parties
385. Cou.nterclaimants, Mernorial MRI & Diagnostic, LLC and Memorial MRI & Diagnostic
Center, LP, Michael Hilliard, Shailesh Patel and Kim Tran (collectively “Counterclaimants”),

have answered and appeared.

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386. Counter-Defendants, Allstate Insurance Company, Allstate Indemnity Company, Allstate
Property & Casualty Insurance Company, Allstate County Mutual Insurance Company, and
Allstate Fire & Casualty Insurance Company (collectively “Counter-Defendants”), have
appeared

B. Jurisdiction and Venue
387 . This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331.
Counterclaimants request that this Court assume supplemental jurisdiction over the Texas state
law claim of business disparagement, pursuant to 28 U.S.C. § 1367.
388. Venue is proper in this district under 28 U.S.C. §§ 1391(b) and 1391(c).

C. Factual Background

389. Counterclaimants engage in the business of providing a variety of medical and diagnostic
imaging services to individuals With a wide range of medical needs. Counterclaimants’ services
include CAT scans, MRls, ultrasounds, x-rays, EMG/NCVS, mammograms and pain
management, among others.
390. Counterclaimants’ business is largely based on the relationships Counterclaimants have
developed with various entities that refer patients to Counterclaimants The entities that refer
patients to Counterclaimants are diverse. Some of the entities include attorneys who represent
individuals who have been injured in an accident, and may be entitled to recovery for their
injuries from a party insured by Counter-Defendants.
391. Counter~Defendants have developed a sharply-honed system for carefully evaluating the
claims made on Counter-Defendants’ insureds, with the ultimate goal of reducing claims payouts
and increasing company profits. ln connection with these clairns, Counter-Defendants use a
computer program called “Colossus,” which was calibrated to produce claims evaluations at least

20 percent lower on average than Counter-Defendants’ previous claims evaluation process.

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Allstate utilizes Colossus and a medical bill review system to critically analyze and investigate
the reasonableness and necessity of medical bills submitted and to identify possible fraudulent
claims.

392. ln addition to the claims analysis, Counter-Defendants target those, like Defendants in
this lawsuit, who provide medical services to automobile injury claimants. In state and federal
courts throughout the United States, Allstate has initiated legal action against orthopedic
surgeons, neurologists, radiologists, chiropractors and chiropractic clinics, imaging centers, pain
management centers, and others who treat and provide medical services to injured patients
asserting claims against Counter-Defendants automobile policies A “win” in these cases occurs
as soon as the suit is filed, with the lawsuit having an immediate chilling effect on the medical
provider’s patient base and credibility as a treatment center for injured patients.

393. Additionally, upon information and belief, Counterclaimants have learned that Counter-
Defendants are publishing disparaging words and are making disparaging statements about
Counterclaimants Specifically, Counter-Defendants are falsely alleging that Counterclaimants
are involved in a conspiracy to defraud insurance companies and individuals by means of
manufacturing inaccurate medical diagnoses, recommending unnecessary medical procedures
and over billing. Counter-Defendants are making these disparaging statements to third parties in
an effort to damage Counterclaimants’ relationships with the entities that refer patients to
Counterclaimants Counter-Defendants made these false statements in an attempt to drive
Counterclaimants out of business, thereby decreasing the likelihood that Counter-Defendants
will be forced to pay on legitimate insurance claims made against CounterFDefendants’ insureds
394. Due to Counter-Defendants’ statements and acts, Counterclaimants have suffered a
substantial amount of lost sales and business

D. Count One - Business Disparagement

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395. Counterclaimants re-allege and incorporate by reference herein the allegations contained
in the preceding paragraphs of this Counterclaim. n
396. Counter-Defendants published disparaging words about Counterclaimants Specifically,
disparaging statements have been made by Counter-Defendant to third parties alleging that
Counterclaimants are involved in a conspiracy to defraud insurance companies and individuals
by means of manufacturing inaccurate medical diagnoses, recommending unnecessary medical
procedures and over billing The statements were false when they were made. The Counter-
Defendants published the statements with malice. Counter-Defendants were not protected with a
privilege to make these false statements, which have caused Counterclaimants damages.
Because the injuries sustained were a result of Counter-Defendants’ malice, Counterclaimants
are entitled to exemplary damages.

E. Count Two - Abuse of Process
397. Under Texas law, “[a]buse of process is the malicious use or misapplication of process in
order to accomplish an ulterior purpose.” Hunt v. Baldwin, 68 S.W.3d 117, 129 (Tex. App. _
Houston [14th Dist.] 2001, no pet.). “[T]he process must have been used to accomplish an end
which is beyond the purview of the process and compels a party to do a collateral thing Which he
could not be compelled to do.” Bossin v. Towber, 894 S.W.2d 25, 33 (Tex. App. - Houston [14th
Dist.] 1994, no pet.). l
398. Counter-Defendants filed this suit with purposes other than to resolve the alleged legal
dispute with Counterclaimants that is articulated in Counter-Defendants’ Amended Cornplaint.
Counter-Defendants filed this lawsuit to coerce unreasonably low settlements of future personal
injury claims by attacking the character, credibility, and medical judgment of personal injury
plaintiffs’ treating physicians; to force Counterclaimants to cease the evaluation and treatment of

patients injured as a result of automobile accidents', to interfere with Counterclaimants’

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contractual relationships with individuals who were injured by Counter-Defendants’ insureds and
are currently pursuing property damage and bodily injury claims against Counter~Defendants’
insureds; to interfere with the Counterclaimants’ prospective contractual relationships with
individuals who were or will be in the future injured and intend to assert a claim against a
responsible third party; and to recover funds for cases that Counter-Defendants previously settled
at fair value.
399. As a result of Counter-Defendants’ abuse of process, Counterclaimants have suffered and
will continue to suffer significant financial injury through the loss of patients and the damage of
Counterclaimants’ reputation, credibility, and livelihood. Moreover, Counterclaimants have
incurred and will continue to incur significant legal expenses to defend this suit (with legal fees
likely to exceed the total actual damages sought by Allstate).
400. Because of Counter-Defendants’ abuse of process, Counterclaimants are also entitled to
and seek recovery of exemplary damages, prejudgment and postjudgment interest, and costs of
COIH'|;.

F. Damages
401. Counterclaimants seek to recover all special damages caused by Counter-Defendants
statements and acts, including, but not limited to loss of profit and loss of business
402. Counterclaimants damages resulting from the conduct of Counter-Defendants is
continuing and is in excess of the jurisdictional minimums of this Court.
403. ln addition to Counterclaimants special damages, Counterclaimants are entitled to
recover exemplary damages Counter-Defendants’ conduct was down knowingly and with actual

malice.

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404. Finally, Counterclaimant sues to recover prejudgment interest on all elements of damages
incurred in the past as provided by law; post-judgment interest on the judgment rendered in this
case at the legal rate, until paid in full; and, costs of court.

XIII.
PRAYER FOR RELIEF

WI-[EREFORE, premises considered, Defendants, Memorial MRI & Diagnostic, LLC
and Memorial MRI & Diagnostic Center, LP, Michael Hilliard, Shailesh Patel and Kim Tran
(collectively “Defendants”) pray that Allstate lnsurance Company, Allstate lndemnity Company,
Allstate Property & Casualty Insurance Company, Allstate County Mutual Insurance Company,
and Allstate Fire & Casualty Insurance Company take nothing by its First Amended Complaint
against Defendants and for such other and further relief, both general and special, at law and
equity, to which Defendants are justly entitled.

WHEREFORE, Counterclaimants, Memorial MRI & Diagnostic, LLC and Memorial
MRI & Diagnostic Center, LP, Michael Hilliard, Shailesh Patel and Kim Tran, pray that
Counter-Defendants, Allstate Insurance Company, Allstate Indemnity Company, Allstate
Property & Casualty lnsurance Company, Allstate County Mutual lnsurance Company, and
Allstate Fire & Casualty lnsurance Company, be cited to appear, and that upon final hearing on
this matter, Counterclaimants receive judgment on their counterclaim as follows:

1. Award Counterclaimants special damages, in an amount yet to be determined, for
Counter-Defendants’ acts complained of herein.

2. Award Counterclaimants exemplary damages, in an amount to be determined at
trial, for the malicious acts of Counter-Defendants.

3. Award Counterclaimants costs of suit incurred.

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4. Grant Counterclaimants such other and further relief, legal and equitable, as this

Court shall deem just and appropriate

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Respectfully submitted,

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Q_ERTIFICATE OF SERVIQ_E

I hereby certify that a true and correct copy of the foregoing instrument has been
forwarded to the following counsel of record in this cause via electronic filing, and/or by U.S.
certified mail, return receipt requested, postage prepaid, fax, or hand delivery on this the 27th day

of August, 2012.

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